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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


STEVE BERRY,

       Petitioner,

v.                                                 CASE NO. 8:13-CV-1911-T-30MAP
                                               CRIM. CASE NO. 8:06-CR-349-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
________________________________/

                                          ORDER

       This matter is before the Court for consideration of Petitioner’s motion to vacate, set

aside, or correct an allegedly illegal sentence filed pro se pursuant to 28 U.S.C. § 2255 (CV

Dkt. 1). A motion to vacate must be reviewed prior to service on the United States. See Rule

4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of the case

conclusively show that the prisoner is entitled to no relief,” the motion is properly denied

without a response from the United States. 28 U.S.C. § 2255(b). Upon consideration of the

§ 2255 motion and the record, the Court concludes that the § 2255 motion must be dismissed

as successive.

                                     BACKGROUND

       Pursuant to a plea agreement, Petitioner pleaded guilty to conspiracy to possess with

intent to distribute five hundred grams or more of cocaine, contrary to the provisions of 21

U.S.C. §§ 846 and 841(b)(1)(B)(ii) (CR Dkts. 94, 108, 119, 173). Petitioner was sentenced

on February 21, 2007, to a 135-month term of imprisonment, to be followed by a 60 month

term of supervised release (CR Dkt. 173). Petitioner did not appeal his conviction or
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sentence. Petitioner’s request for collateral relief pursuant to 28 U.S.C. § 2255 was

dismissed as time-barred1 by this Court on March 5, 2010 (CR Dkt. 287); see Berry v. United

States, Case No. 8:10-CV-79-T-30MAP (M.D. Fla. 2010). The Eleventh Circuit Court of

Appeals affirmed the dismissal of Petitioner’s § 2255 motion. Berry v. United States, 468

Fed. Appx. 924 (11th Cir. 2012) (unpublished).

                                                   DISCUSSION

       Petitioner now returns to this Court seeking to vacate his sentence based upon Alleyne

v. United States, 133 S.Ct. 2151 (2013), and a claim that counsel was ineffective in failing

to file a notice of appeal. “[A] second or successive [§ 2255] motion must be certified as

provided in section 2244 by a panel of the appropriate court of appeals.” 28 U.S.C. §2255(h).

See also 28 U.S.C. § 2244(b)(3)(A). Because Petitioner has previously sought collateral

relief pursuant to § 2255, and he has not demonstrated that he has obtained permission from

the Eleventh Circuit to file a second or successive motion, this Court is without jurisdiction

to entertain the instant § 2255 motion. Darby v. Hawk-Sawyer, 405 F.3d 942, 944-45 (11th

Cir. 2005). This case will, therefore, be dismissed without prejudice to allow Petitioner the

opportunity to seek said authorization.

       ACCORDINGLY, it is ORDERED that:

       1.         The motion to vacate, set aside, or correct an illegal sentence is DISMISSED,

without prejudice, for lack of jurisdiction (CV Dkt. 1).

       2.         The Clerk is directed to send Petitioner the Eleventh Circuit’s application form

for leave to file a second or successive § 2255 motion under 28 U.S.C. § 2244(b).



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                The Court also ruled in the alternative, on the merits, that Petitioner was entitled to no relief.

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       3.     The Clerk shall terminate any pending motions and close this case.

  CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
                       PAUPERIS DENIED

       IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must

first issue a certificate of appealability (COA). Id. “A [COA] may issue ... only if the

applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

2253(c) (2). To make such a showing, a petitioner “must demonstrate that reasonable jurists

would find the district court’s assessment of the constitutional claims debatable or wrong,”

Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that “the issues presented were ‘adequate to deserve encouragement to proceed

further.’” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle,

463 U.S. 880, 893 n. 4 (1983)). Petitioner cannot make the requisite showing in these

circumstances. Finally, because Petitioner is not entitled to a certificate of appealability, he

is not entitled to appeal in forma pauperis.

       DONE and ORDERED in Tampa, Florida on July 30, 2013.




SA:sfc
Copies furnished to:
Counsel of Record
Petitioner, pro se




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